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 6   Attorneys for Plaintiffs JOHN HUEBNER and IRMIN
     LANGTON, on behalf of themselves and others similarly
 7   situated

 8
                                 UNITED STATES DISTRICT COURT
 9
10                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

11
12   JOHN HUEBNER and IRMIN LANGTON,                Case No. 3:14-cv-04735-VC
     on behalf of themselves and others similarly
13   situated,                                      [Assigned to the Honorable Vince Chhabria]
14                         Plaintiffs,              CLASS ACTION
15                 v.                               [PROPOSED] ORDER GRANTING
                                                    ADMINISTRATIVE MOTION TO
16   RADARIS, LLC, a Massachusetts limited          CONTINUE CASE MANAGEMENT
     liability company; RADARIS AMERICA,            CONFERENCE (Civil L.R. 7-11)
17   INC., a Delaware corporation; and EDGAR
     LOPIN, an individual,
18
                           Defendants.
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                                                                        Case No. 3:14-cv-04735-VC
                                                    [Proposed] Order Granting Administrative Motion
                                                           to Continue Case Management Conference
       Case 3:14-cv-04735-VC Document 12-4 Filed 01/20/15 Page 2 of 2


 1                                     [PROPOSED] ORDER

 2         The Administrative Motion to Continue the Case Management Conference filed by

 3 plaintiffs John Huebner and Irmin Langton (“Plaintiffs”) is hereby GRANTED. The Case
 4 Management Conference is continued for 90 days, from January 29, 2015 to April 21, 2015. The
 5 date by which the parties must file the Case Management Statement is continued from January 20,
 6 2015 to April 14, 2015.
 7         IT IS SO ORDERED.

 8 DATED: ____________________                        ______________________________
                                                         The Honorable Vince Chhabria
 9                                                       Judge of the U.S. District Court
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                                                                      Case No. 3:14-cv-04735-VC
                                                  [Proposed] Order Granting Administrative Motion
                                                         to Continue Case Management Conference
